Case 1:00-cv-00105-L-DLM Document 379 Filed 09/14/06 Page 1 of 19 PageID #: 10725
                                                                             1



 1                   UNITED STATES DISTRICT COURT

 2                  FOR THE DISTRICT OF RHODE ISLAND

 3   * * * * * * * * * * * * * * *
 4   THE ESTATE OF                          C.A. No. 00-105 L
     YARON UNGAR, et al
 5             Plaintiff

 6
     vs.                                  PROVIDENCE, RI
 7                                        SEPTEMBER 13, 2006

 8   THE PALESTINIAN
     AUTHORITY, et al
 9             Defendant

10              *    *   *   *   *      *     *    *
     *      *
11           BEFORE SENIOR DISTRICT JUDGE RONALD R. LAGUEUX

12   APPEARANCES:

13   FOR THE PLAINTIFFS:               DAVID J. STRACHMAN, ESQ.
                                       321 South Main St.
14                                     Suite 400
                                       Providence, RI 02903
15                                     351-7700

16   FOR THE DEFENDANT:                DEMING E. SHERMAN, ESQ.
                                       Edwards & Angell
17                                     2800 Financial Plaza
                                       Providence, RI 02903
18                                     274-9200

19                                     JAMES R. OSWALD, ESQ.
                                       Adler Pollock & Sheehan PC
20                                     8th Floor
                                       Providence, RI 02903
21                                     274-7200

22   Court Reporter:                   JOSEPH A. FONTES
                                       145A High Point Blvd.
23
                                 ON   v;~s~Q~f~~~~~<~ II' FL   33 4 45
24

25         Proceeding reported a~ ~rd&uQJci:l~yqn~omputer-aided
                           stenography
Case 1:00-cv-00105-L-DLM Document 379 Filed 09/14/06 Page 2 of 19 PageID #: 10726
                                                                             2



 1   September 13, 2006 - MORNING SESSION

 2               THE COURT:    Good morning, everyone.       The matter

 3   before the Court is Civil Action 2000-105 L, The Estate of

 4   Yaron Ungar, and others versus the Palestinian Authority, and

 5   others.    The matter is here on plaintiff's motion for

 6   default on the creditor's bill which was filed by the

 7   plaintiffs against the PA and the PLO.         Will the attorneys

 8   identify themselves for the record, please.

 9              MR. STRACHMAN:      David Strachman for the plaintiffs.

10              MR. SHERMAN:     Deming Sherman appearing on behalf of

11   the Palestinian Authority and the PLO.         Your Honor, may I

12   breifly address the Court before the argument begins?

13               THE COURT:    All right.

14              MR. SHERMAN:     Your Honor, I'm here this morning

15   because I remain counsel of record, and as an officer of the

16   Court.    However, I have not received any instructions from

17   the clients that I previously represented in this matter and,

18   therefore, I'm not authorized to take a position one way or

19   the other, and do not intend to participate beyond being

20   present in the Court.

21              THE COURT:     All right.    Well, they haven't

22   responded to this creditor's bill.        The PA and the PLO have

23   not responded.

24              MR. SHERMAN:     I understand.

25              THE COURT:     So that's why there's a motion for
Case 1:00-cv-00105-L-DLM Document 379 Filed 09/14/06 Page 3 of 19 PageID #: 10727
                                                                             3



 1   entry of default, and entry of default judgment.

 2               MR. SHERMAN:     I recognize that, your Honor.

 3               THE COURT:     All right. Then you're not going to

 4   argue on it?

 5               MR. SHERMAN:     No.     I'm not authorized to argue on

 6   behalf of those entities.          Thank you.

 7               THE COURT:     All right.

 8               MR. OSWALD:     Your Honor, may I be heard?

 9               THE COURT:     Yes.

10               MR. OSWALD:     Your Honor, my name is James Oswald

11   from Adler Pollock and Sheehan here in town.          I represent

12   non-parties who have an interest in this motion, and in this

13   creditor's bill.     Those non-parties are Canaan Equity

14   Offshore, Canaan Equity II Offshore, and Canaan Equity III

15   Offshore.    These are Venture funds, your Honor, that are down

16   in Connecticut based overseas.

17               Your Honor may recall that I was before the Court

18   approximately a year ago, and during the course of last

19   summer regarding attempts by the plaintiffs to seize or to

20   freeze certain assets of the Palestinian Investment Fund, the

21   Palestinian Pension Fund, and an entity called, Becont in

22   these Canaan Venture Funds.         We had a back and forth with

23   respect to the injunction that your Honor issued.           And at one

24   point we had filed a motion for clarification of that

25   injunction to see whether the injunction, in fact, covered
Case 1:00-cv-00105-L-DLM Document 379 Filed 09/14/06 Page 4 of 19 PageID #: 10728
                                                                             4



 1   those entities.     Although I'm here representing non-parties

 2   because they have an interest, Canaan collectively, we filed

 3   a letter of response to the Court on July 18th of this year

 4   responding to the plaintiff's creditor's bill and setting

 5   forth the reasons why we have an interest and why we ought to

 6   be heard.    The short version is is that the creditor's bill

 7   seeks to have turned over to the plaintiffs assets, in

 8   particular P.I.F., the Palestinian Investment Fund.            Those

 9   are assets that are in         some of those assets are in these

10   Canaan Venture Funds.      In the interim, what had happened last

11   summer was that plaintiffs had filed an action in Federal

12   Court in Connecticut for the very issue that I think they're

13   asking to be heard on today, which is can those -- are those

14   assets reachable?     Are the assets of P.I.F. in fact the

15   assets of the PA or the PLO?       Respectfully, as we set forth

16   in our July 18th letter, that is the very issue that is

17   pending before the federal- before Judge Dorsey down in

18   Connecticut.    And again the other bases are set forth in our

19   letter, in particular, that the threshold requirement under

20   9-28-1, that the Writ of Execution come back unsatisfied has

21   not been met.     We're concerned that the very issue that's

22   being asked to be decided yet again by this Court is, in

23   fact, the issue that is pending down in Connecticut which

24   your Honor had requested the plaintiffs go do.           They did.

25   It's going to be decided down there.        Thank you.
Case 1:00-cv-00105-L-DLM Document 379 Filed 09/14/06 Page 5 of 19 PageID #: 10729
                                                                            5



 1               MR. STRACHMAN:        Your Honor, can I respond?

 2               THE COURT:     Yes.     Well, the Canaan entities are not

 3   parties to this case, and I'll hear whatever arguments you

 4   want to make as a friend of the Court.          But what I'm dealing

 5   with here is a defaulted case, and the question is, what form

 6   will the judgment take?       And I have limited jurisdiction

 7   because none of those entities are before this Court.            The

 8   only jurisdiction I have is over the PA and the PLO, which I

 9   determined a long time ago.          So there's certainly a question

10   about any judgment that I enter in this case as to its

11   territorial effect.       But I'll hear all the arguments that

12   anybody wants to make on this subject, and I'll make a

13   determination.

14              MR. STRACHMAN:         Thank you, your Honor.   I find that

15   it's -- at the outset, it's somewhat disingenuous that the

16   party who was here for 4 years of litigation through

17   8 written decisions and two appeals won't come forward to

18   recognize the jurisdiction of this Court, won't show up in

19   court other than to say that they're not arguing, they're not

20   taking a position.       A party that is unrelated to this

21   litigation, that is really nothing more than a stakeholder,

22   who came to this Court last year, invoked the Court's

23   jurisdiction, then after the Court made a ruling, I believe

24   on the receivership motion, and there was a discussion about

25   moving to Connecticut with respect to a particular asset, and
Case 1:00-cv-00105-L-DLM Document 379 Filed 09/14/06 Page 6 of 19 PageID #: 10730
                                                                             6



 1   we did that, then came to this Court and said, "Oh, we're

 2   going to change tacts and we're going to now litigate that

 3   issue in Connecticut."      There is an issue in Connecticut

 4   that's being litigated. It is not a creditor's bill.            My

 5   brother, Mr. Oswald, would have you believe that this

 6   proceeding is entirely dependent upon him, his client, and

 7   this one small asset.      The asset, by the way, that's in

 8   Connecticut, is valued between 3 and 5 million dollars.

 9   Barely the interest that's accrued on this judgment in the

10   last two years.     The status of the matter in Connecticut is

11   that Canaan has filed motions to dismiss our collection

12   proceedings there on various jurisdictional bases.           If their

13   motion is granted, there will be no ruling on the substantive

14   matter whether we can -- the status of these investments.

15              But what's before the Court today is a very simple

16   proceeding.    And to respond to your Honor's comments at the

17   outset, this Court has jurisdiction over these two

18   defendants, the PA and the PLO.        Your Honor knows that better

19   than anyone, and your Honor wrote several decisions on that

20   very issue.    They are here, as this Court has in personam

21   jurisdiction over them.      This Court can manage their affairs

22   just as superior courts have done, and I notice that's a more

23   traditional forum for this type of procedure, a creditor's

24   bill.   A case that I unfortunately neglected to include in

25   our brief is the Desper versus Talbot case, and I can pass a
Case 1:00-cv-00105-L-DLM Document 379 Filed 09/14/06 Page 7 of 19 PageID #: 10731
                                                                             7



 1   copy up to the Court afterwards, 727 A2d 1233, and this Court

 2   did exactly what we're asking.        The Supreme Court upheld the

 3   procedure exactly as we're asking this Court to do here, and

 4   that is to simply say whatever interest the PA and the PLO

 5   have in these two entities.       They, by the way, as we showed

 6   the Court and demonstrated in our exhibits, are the sole

 7   shareholders in these entities.        These entities were designed

 8   specifically, and their own web sites say that these entities

 9   were designed to hold PA assets.        It's the PA Christmas fund

10   account, if you will.      They took all their assets, they put

11   them in this one entity so they were gathered and corralled,

12   so everyone can look at them.       They advertised this on their

13   web site.    Standard & Poor's has documented this.         The World

14   Bank has documented this.       This is not a piercing the

15   corporate veil issue.      This is simply their piggy bank or

16   their collection of toys, if you will.         Their funds.

17               So what we're asking this Court simply to do is to

18   say their interest be equitably assigned to my clients.            The

19   clients will then probably have to do a lot of things outside

20   of this jurisdiction with respect to those assets.            I don't

21   foresee that we would be corning back to the Court, to this

22   Court, in the future, with respect to these assets.           And the

23   Court gave us some direction last year with respect to the

24   receivership motion as to whether this Court was going to

25   supervise collection activity of this judgment, you know, and
Case 1:00-cv-00105-L-DLM Document 379 Filed 09/14/06 Page 8 of 19 PageID #: 10732
                                                                             8



 1   I understood what the Court said.        But now that the Court has

 2   jurisdiction over these defendants, and it's crystal clear,

 3   and they've brazenly refused to respond, they failed to

 4   respond initially, then the Court gave them another response

 5   date, they blew that, they don't come to court here.            I think

 6   we have no choice but to enter default, and then enter

 7   default judgment assigning these interests to my clients.             My

 8   clients will then be in a position that of controlling and of

 9   managing, if you will, this interest, these two interests.

10   Now whatever those funds have invested in, and one of those

11   funds invested in these, possibly these Canaan entities, we

12   understand that we're going to take, subject to whatever

13   those contractual rights are.       We've had a series of

14   discussions with Canaan's attorneys way back about the nature

15   of those contracts, those interests.         They're very difficult

16   to reduce to a value.      They're partnership interests which

17   have all kinds of different subscriptions and target dates,

18   et cetera.

19                But we urge the Court to grant this motion, to

20   grant the relief, and I have a prepared motion -- excuse me,

21   a prepared order, that I'd like to provide to the Court for

22   review, because we find ourselves two years later virtually

23   in the same place that we were in July of 2004 when this

24   Court entered final judgment after four-and-a-half years of

25   litigation.    And as we demonstrated in our initial pleading
Case 1:00-cv-00105-L-DLM Document 379 Filed 09/14/06 Page 9 of 19 PageID #: 10733
                                                                             9



 1   in this present matter, the PA and the PLO have taken the

 2   position in other courts that they no longer recognize the

 3   jurisdiction of the Courts, although they're litigating other

 4   terrorist cases with them, and Ramsey Clark and Larry

 5   Schilling are there and are participating in certain cases,

 6   they've brazenly told Courts they're are not going to pay the

 7   discovery fines, et cetera.       We find ourselves in a very

 8   difficult position.      There's no reason that these orphans and

 9   their families have to suffer further through more years of

10   tortious litigation simply because they won't comply with the

11   Court order.

12               I would urge the Court not to be sidetracked, and I

13   heard what your Honor said initially, but I would ask the

14   Court to reconsider even listening to the position of Canaan.

15   Canaan is a stakeholder.      They have no -- they have not moved

16   to intervene.    By stipulation, their involvement in this case

17   terminated, I believe, about a year ago.         They have no reason

18   and no basis to come into this Court and to make arguments.

19   They're really not a friend of the Court.         They're really a

20   shill for the PA and the PLO.       Their position should be as a

21   third-party garnishee.      Whatever happens, happens.       I have no

22   interest one way or another.       Instead what they're doing is

23   they're sort of stubstituting here for the PA and the PLO,

24   and they're sort of trying to manipulate and hijack these

25   proceedings into a, you know, offense against the Ungers, and
Case 1:00-cv-00105-L-DLM Document 379 Filed 09/14/06 Page 10 of 19 PageID #: 10734
                                                                            10



 1   it's just not right.       They're not here.     They haven't entered

 2   an appearance.     They haven't sought to intervene, and by

 3   agreement all the proceedings that they were involved in, and

 4   the motion that they filed a year ago, over a year ago, was

 5   dismissed.     So I'd ask the Court to not to hear from them,

 6   and to not accept letters from them and from friends and

 7   other people who have written letters to the Court in this

 8   case who are not involved in this case, who have tried to

 9   stymie certain rulings that the Court has made, and the

10   plaintiff's proceedings, and I just think it's inappropriate.

11   There's no basis for it.

12                THE COURT:   Well, I don't decide cases on letters.

13   And letters are not official.        Although I'm putting them in

14   the file so that everybody will know what these letters are

15   that are being sent to me.       I decide cases based on pleadings

16   and legal arguments.      And although I've read the material, it

17   doesn't persuade me.

18                I'm satisfied that whatever judgment I enter here

19   today has no bearing on the Connecticut case.           If I enter a

20   judgment assigning to the plaintiffs all the rights that the

21   PA has in these two entities, that's the limit of the order

22   of the Court, the judgment of the Court, then that has to be

23   executed somewhere where these two entities are doing

24   business.    They're not doing business in Rhode Island.          As I

25   said from the very beginning, there's no way I'm going to
Case 1:00-cv-00105-L-DLM Document 379 Filed 09/14/06 Page 11 of 19 PageID #:11
                                                                             10735



 1    supervise the collection of this judgment because there are

 2   no assets in this jurisdiction of the PA and the PLO.

 3   Although they're subject to the jurisdiction of this Court, I

 4   can enter an order such as is proposed here.           Really it's a

 5    judgment.    I'm entering a judgment on the creditor's bill.

 6                MR. STRACHMAN:        Could I -- I have a proposed order,

 7   your Honor, I'd like to offer up to the Court.

 8                THE COURT:     All right.     It's absolutely clear that

 9   the PA and PLO have defaulted, and so I am-- it's

10   unnecessary for me to tell the clerk to enter a default.               I

11   declare a default.        And now I will enter judgment for the

12   plaintiffs against the PA and the PLO.

13                MR. OSWALD:     Your Honor, may I be heard very

14   briefly in response to Mr. Strachman?

15                THE COURT:     Yes.

16                MR. OSWALD:     Thank you.    Your Honor, I'm not here

17   for the PA.     I'm not here for the PLO.        I'm not a shill, I'm

18   not a piggy bank, I'm not any of the things that I've been

19   accused of being.     We have one single interest and that is

20   the fact that this entity, PIF, has assets in the Canaan

21   Venture Funds.     The order that is being asked for the Court

22   to enter is not simply an order against the PA and the PLO.

23   It is an order specifically reaching, applying, and

24   subjecting to the payment all of the assets held by the PCSC,

25   which is an entity I don't know about and don't care about,
Case 1:00-cv-00105-L-DLM Document 379 Filed 09/14/06 Page 12 of 19 PageID #:12
                                                                             10736



 1   and PIF.

 2                THE COURT:    That's right.

 3                MR. OSWALD:    Therefore, it is going -- the piggy

 4   bank analogy that was made, there's a presumption that is

 5   being made there that I don't know whether it was correct or

 6   not, but is going to be decided by the federal court in

 7   Connecticut.     Mr. Strachman says here to the Court that the

 8   PIF is the piggy bank for the PLO and the PA.           If it is, the

 9   federal court in Connecticut will say so.          If it is not, the

10   federal court will say so.       But the order

11                THE COURT:    That's up to the federal court in

12   Connecticut.     I'm doing my business here.       The federal court

13   in Connecticut can do what it thinks is appropriate.

14                MR. OSWALD:    We agree completely, your Honor.        The

15   only concern that we have here with the entry of the order is

16   that it is effectively going to decide the issue.            That is,

17   to decide the issue that PIF is in fact a shill or a piggy

18   bank for the PA or the PLO.       We don't want your Honor's order

19   to decide that.     There's been no evidentiary hearing.

20   There's been no evidence.       The things that Mr. Strachman is

21   saying certainly are not evidence.         That is the very issue

22   that your Honor directed plaintiffs to have decided down in

23   Connecticut.     That's our sole and only concern here before

24   the Court.

25                THE COURT:    You can make those arguments before the
Case 1:00-cv-00105-L-DLM Document 379 Filed 09/14/06 Page 13 of 19 PageID #:13
                                                                             10737



 1   federal judge in Connecticut.          What I have authority to do

 2   here is to enter orders against the PA and the PLO.            They've

 3   defaulted on this creditor's bill, and I have the power to

 4   enter orders against them.       And one of the orders or

 5    judgments that I'm going to enter is that any assets that the

 6   PA owns, or any interest that it owns, in those two entities

 7   is assigned to these plaintiffs.          And then you'll have to

 8   deal with them down in Connecticut.

 9               MR. OSWALD:     So to be clear, your Honor's order

10   does not go so far as to saying that these entity's assets

11   are, in fact, the assets of the PLO or the PA?           Your Honor is

12   not deciding the issue that is before the Connecticut court,

13   is that my understanding?

14               THE COURT:     I am deciding that because the PA and

15   PLO have defaulted.       And based on these allegations, I'm

16   deciding that they have, the PA has interests in these two

17   entities, and I'm assigning whatever interests they have to

18   the plaintiffs.

19               MR. OSWALD:     I see.     If they have an interest, i t

20   is being assigned.       But the determination of whatever those

21   interests are is ultimately being left to the Connecticut

22   court.

23               THE COURT:    Well, the Connecticut court will have

24   to decide some issues here.          I'm deciding that whatever the

25   PA owns in these two entities is assigned to the plaintiffs.
Case 1:00-cv-00105-L-DLM Document 379 Filed 09/14/06 Page 14 of 19 PageID #:14
                                                                             10738



 1   Then the plaintiffs can proceed as they see fit.           And you do

 2   what you have to do down there.           You're a stakeholder.    Your

 3   clients are stakeholders.        It shouldn't matter to them who

 4   owns these assets.

 5                MR. OSWALD:     We just want to know what to do, your

 6   Honor.

 7                THE COURT:     Right.     And the Connecticut court will

 8   decide who owns these assets.

 9                MR. OSWALD:     Very good.

10                THE COURT:     And then you'll pay up.

11                MR. OSWALD:     Whatever the Connecticut court

12   decides, your Honor, we are in lock step with it.            We're just

13   waiting for that decision.           Thank you.

14                THE COURT:     I can't forecast what the Connecticut

15   court is going to do.       All I can do is deal with what I have

16   jurisdiction over.        And I have jurisdiction over the PA and

17   the PLO.

18                MR. OSWALD:     Thank you, your Honor.

19                THE COURT:    And they've defaulted on this

20   creditor's bill and so I'm going to enter judgment against

21   them.    And that judgment is going to take the form of an

22   assignment of any rights they have in these two entities to

23   the plaintiffs.     That's what the judgment is going to be in

24   this case.     You agree, Mr. Strachrnan?

25                MR. STRACHMAN:     Yes.     I just     Unfortunately,
Case 1:00-cv-00105-L-DLM Document 379 Filed 09/14/06 Page 15 of 19 PageID #:15
                                                                             10739



 1   your Honor, we've been victim of people taking transcripts

 2   and taking statements, and not Mr. Oswald, but others taking

 3   statements that were made in previous hearings, this is in

 4   litigation we have in several courts in New York, out of

 5   context.    We provided evidence to the Court that was

 6   unrebutted.     That evidence suggests and proves that not only

 7   does the PA own these two entities, we've shown the Court the

 8   stock certificates.      But not only that, we've shown the Court

 9   affidavits from counsel in Israel who said the PA have

10   pledged these very assets to pay terrorism judgments.            And I

11   just want it to be clear because toward the end of your

12   Honor's statement there may be something that it may be

13   misconstrued.     Your Honor is ruling, as I understand, that

14   any interest that the PA and the PLO            it's really the PA,

15   but that they have in these two entities, the PIF and the

16   PCSC are now assigned to my client.

17               THE COURT:    Right.

18               MR. STRACHMAN:     Now, that order is effective as to

19   any interest that the PA and the PLO have.          If their

20   interests are in Switzerland, this Court, and I believe your

21   Honor said has no direct bearing on that underlying asset in

22   Switzerland, but the entity called the PA -- PIF, and the

23   entity called the PCSC, now are assigned in toto to my

24   client.    No different than a stock certificate in General

25   Motors which may be located in Detroit but the stock
Case 1:00-cv-00105-L-DLM Document 379 Filed 09/14/06 Page 16 of 19 PageID #:16
                                                                             10740



 1   certificate is here.      Or a piece of art work that may be out

 2   of state but the owner of the art work is here, because I

 3   don't want that to be misconstrued.         I think my brother's

 4   argument is we may not, as owners of the PIF, and as owner

 5   and assignees now of the PIF we may not be able to reach the

 6   interest in Connecticut.       That's one argument.      That's a

 7   separate argument than to say we're not the PA -- the PIF.

 8   We are the PIF now.      We are the PCSC, in Connecticut and

 9   anywhere else.     And I believe that's -- I just wanted to

10   clarify that.     Is that correct, your Honor?

11               THE COURT:    That's going to be my judgment.

12               MR. STRACHMAN: Thank you.

13               THE COURT: That's the judgment I'm entering.

14               MR. STRACHMAN:     Thank you, you Honor.

15               THE COURT:    I haven't had an opportunity to digest

16   this but, as I've said, this is the judgment that I'm going

17   to enter.    And I want you to spell i t out.       I don't need an

18   order.   What I need is a judgment.

19               MR. STRACHMAN:     The order that we provided, your

20   Honor, we thought we were complying with Rule 55 that first

21   the Court would direct that default be entered.           And we had

22   provided previously to the Court an order on the application

23   for default, and then we are asking that the Court enter a

24   ruling on this application, on the creditor's bill today, and

25   that a separate order, or separate judgment, would enter.
Case 1:00-cv-00105-L-DLM Document 379 Filed 09/14/06 Page 17 of 19 PageID #:17
                                                                             10741



 1   We'd be looking for a separate judgment.

 2                THE COURT:    All right. Right. Well, it won't be the

 3   clerk that enters the separate judgment.           It will be me that

 4   enters the separate judgment.

 5                MR. STRACHMAN: Thank you.

 6                MR. OSWALD:    And, again just for clarification,

 7   your Honor.     Ultimately the determination of whether the PIF

 8   assets that are in the Canaan Venture Funds whether those

 9   are, in fact, funds of the PA or the PLO, is ultimately the

10   issue that is being left to decide to the federal court in

11   Connecticut.

12                MR. STRACHMAN:    No. No. That --

13                THE COURT:    I don't know.     No.   I'm deciding this

14   based on the proof of claim that's been submitted to me.             The

15   proof of claim is, that the PA owns these two entities and,

16   therefore, the interests of the PA are assigned to the

17   plaintiffs.     And then they can proceed to try to collect in

18   Connecticut.

19                MR. OSWALD:   Whatever interests those happen to be

20   are being assigned to the plaintiffs.

21                THE COURT:    It's ownership.     Full ownership rights.

22   That's what's been proven to me through the documentation in

23   this case.     There's a default.     The PA and the PLO have

24   defaulted this case, and so I'm deciding this case on the

25   proof of claim that's been submitted to me.          Sometimes I have
Case 1:00-cv-00105-L-DLM Document 379 Filed 09/14/06 Page 18 of 19 PageID #:18
                                                                             10742



 1   a full hearing and hear testimony on the proof of claim.             I

 2   don't need it in this case because it's        b~en   fully

 3   documented.    And it's part of the record of this case.

 4          So I will digest this order and make any changes, and

 5   ultimately I will enter a judgment as indicated.

 6               MR. STRACHMAN:     Thank you.

 7               THE COURT:     I'm satisfied that the plaintiffs have

 8   proved their claim.       All right.

 9               MR. OSWALD:     Thank you.

10               THE CLERK:     All rise.

11

12

13                  (R E C E S S)

14

15

16

17

18

19

20

21

22

23

24

25
Case 1:00-cv-00105-L-DLM Document 379 Filed 09/14/06 Page 19 of 19 PageID #:19
                                                                             10743



 1

 2

 3               C E R T I F I C A T I 0 N

 4

 5

 6         I hereby certify that the foregoing transcript is a true

 7   and accurate transcript, according to my stenographic notes.

 8

 9

10

11

12

13

14

15        Date

16

17

18

19

20

21

22

23

24

25
